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                             AFFIDAVIT IN SUPPORT OF
                      AN APPLICATION FOR A SEARCH WARRANT

       I,. Kenneth
                . Jay Hurst, a Special Agent with. the
                                                    .
                                                       Federal Bureau of Investigation, being

duly sworn, depose and state as follows:

                                               Introduction

        1.   I have been employed as a Special Agent of the Federal Bureau of lrivestigation

("FBI") since 2016, and aii1 currently assigned to the Cincinnati Division. I entered on duty as a

Special Agent in 2016 and am currently assigned to the Complex Financial Crimes Squad of the

Cincinnati Division. In this capacity, I investigate matters involving criminal enterprises, white

collar crimes, civil rights violations, bank robberies and the online exploitation of children. Prior

to my current assignment, I was assigned to a Counterintelligence Squad, where I investigated a

wide array of natfonal security matters. Since 2016, I have received training and investigative

experience in interviewing and interrogation techniques, arrest procedures, search and seizure,

search warrant applications, and various other crimes and investigative techniques including

Title IU investigations.

       2.      Prior to my employment as a Special Agent with the FBI, I was a Captain in the

United States Army in a reconnaissance and surveillance organization. In that capacity, I

conducted numerous interviews and interrogations while deployed to Afgh~nistan in 2014. Prior

to my career in the United Stat~s Army, I was a fu,11 time student. I graduated from the

University of Kentucky in 2012 with a Bachelor's Degree in :1nternational Studies.

       3.      As a federal agent, I am authorized to investigate violations of United States laws

and to execute warrants issued under the. authority of the United States.

       4.      I am investigating the activities involving the sexual abuse of a minor an,d the

corresponding production of images memorializing the sexual abuse that occurred at 10651
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 South State Route 48, Loveland, Ohio 45140. As will be shown below, .there is probable cause

 to believe .t hat evidence involving the sexual abuse of a minor and corresponding production of

images memorializing the sexual abuse will be located at 1065 l South State Route 48, Loveland,

Ohio 45140. I submit.this application and affidavit in support of a ·sea~ch warrant authorizing the

search of the above residence ("Premise"), as further described in Attachment A-1, as well as

mobile telephones provided to the Hamilton Township Police Department ("HTPD"), via

Consent to Search Forms ("Subject iPhone" and "Witness iPhone"), as further described in

Attachments A-2 and A-3. Located within the Premises, Subject iPhone and Witness iPhone fo

be searched, I seek to seize evidence, fyuits, and instrumentalities of the forgoing criminal ·

violations, which relate to the knowing production and possession of child pornography, more

particularly described in Attachment B. I request authority to search the entire premises,

including the residential dwelling, outbuildings, and vehicles on the premises, and any computer

and computer media located therein, as well as the Subject iPhone and Witness iPhone, where

the items specified in Attachment B may be found, and to seize all items listed in Attachment B

as instrumentalities, fmits, and evidence of a crime.

        5.       The statements in this affidavit are based in part on information provided by

HTPD and on my own investigations of this matter, including my ·experience and training as a

Special Agent of the FBI. Since this affidavit is being submitted for_the limited purpose of

securing a   s~arch warrant,   I have not included each and every fact known to me concerning this

investigation. I have set forth only the facts that I believe are necessary to establish probable

cause to believe that evidence, fruits, and instrumentalities of the violation of§§ 2251, 2252 and

·2252A, are presently located at the premises.

                                        STATUTORY AUTHORITY




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       6.      This investigation concerns alleged violations of 18 U.S.C. §§ 2251, 2252 and

2252A, relating to material involving the sexual exploitation of minors.

                      a.      18 U.S.C. § 2251(a) prohibits knowingly producing a visual

               depiction of a minor engaged in sexually explicit conduct, using materials that

               affect interstate commerce.

                      b.     ·18 U.S.C. § 2252(a)(l) prohibits knowingly transporting or

               shipping in interstate or foreign commerce, by computer or mail, any visual

               depiction of minors engaging in sexually explicit conduct.

                      c.      18 U:S.C. § 2252(a)(2) prohibits knowingly receiving or

               distributing, by computer or mail, any visual depiction of minors engaging in

               sexually explicit conduct that has been mailed, shipped, or transported in

               interstate or foreign commerce. That section also prohibits knowingly

               reproducing any visual depiction of minors engaging in sexually explicit conduct

               for distribution in interstate or foreign commerce by any means, including by

               computer or the mail.

                      d.      18 U.S.C. § 2252(a)(4) prohibits possessing one or more books,

               magazines, periodicals, films, or other materials which contain visual depictions

               of minors engaged in sexually explicit conduct that have been transported in

               interstate or foreign commerce, or that were produced using materials that had

              traveled in interstate or foreign commerce.

                      e.      18 U.S.C. § 2252A(a)(l) prohibits knowingly mailing,

              transporting, or shipping child pornography in interstate or foreign commerce by

               any means, including by computer.




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                  f.       18 U.S.C. § 2252A(a)(2) prohibits knowingly receiving or

           distributing any child pornography that has been mailed or shipped or transp01ted

           in interstate or foreign ·commerce by any means, including by computer.

                  g.       18 U.S.C. § 2252A(a)(3)(A) prohibits a person from lrnowingly

           reproducing child pornography for distribution through the mail or in interstate or

           foreign commerce by any means, including by computer.
                               .                                                 .
                  h.       18 U.S.C. § 2252A(a)(3)(B) prohibits lmowingly advertising,

           promoting, presenting, distributing, or soliciting thiough the mail, or using any

           means or facility of interstate or foreign commerce, or in or affecting interstate or

           foreign commerce by any means     any material in a manner that reflects the belief
           or is intended to cause another to believe that the material is or contains a visual

           depiction of an act1:1al minor engaging in sexually explicit conduct, or an obscene

           visual depiction of a minor engaging in sexually explicit conduct.

                  i.      · 18 U.S.C. § 2252A(a)(5)(B) prohibits a perso~ from knowingly

           possessing any book, magazine, periodical, film, videotape, comp-µter disk, or

           other material that contains an image of child pornography that has been mailed,

           shipped, or transported in interstate or foreign commerce by any means, including

           by computer, or that was produced using materials that have been mailed;

           shipped, or transported in interstate or foreign commerce by any means, including

           by computer.




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                                         DEFINITIONS

     7.    The following definitions apply to this Affidavit and Attachment B:

                  a.      "Child Erotica" means mate1ials or items that are sexually

              arousing to persons having a sexual interest in minors but that are not

              necessarily, in and of themselves, obscene or that do not necessarily depict

              minors in sexually. explicit poses or positions.

               · b.       "Child Pornography'' includes any visual depiction of sexually

              explicit conduct where (a) the production of the visual depiction involved the

              use of a minor engaged in sexually explicit conduct; (b) the visual depiction

              was a digital image, computer image, or computer-generated image that is, or

              is indistinguishable from, that of a minor engaged in sexually explicit conduct;

              or (c) the visual depiction has been created, adapted, or modified to appear
              that an identifiable minor is engaged in sexually explicit conduct. See 18

              u.s.c. § 2256(8).
                  c.     "Computer" refers to "an electronic, magnetic, ,optical,

              electrochemical, or other high speed data processing device performing

              logical or storage functions, and includes any data storage facility or

              communications facility directly related to or operating in conjunction with

              such device." See 18 U.S.C. § 1030(e)(l).

                  d.     "Computer .hardware" consists of all equipment that can receive,

              capture, collect, analyze, create, display, convert, store, conceal, or transmit

              electronic, magnetic, or similar computer impulses or data. Computer

              hardware includes any data-processing devices (including, but not limited to,




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             central processing units, internal and peripheral storage devices such as fixed

             disks, external hard drives, floppy disk drives and diskettes, and other memory

             storage devices); peripheral input/output devices (including, but not Fmited tO,

             keyboards, printers, video display monitors, and related communications

             devices such as cables and connections); as well as any devices", mechanisms,

             or parts that can be used to restrict access to computer hardware (including,

             but not limited to, physical keys and locks).

                 e.        . "Computer passwords and data security devices" consist of

             information or items designed to restrict access to or hide computer software,
                                          '
             docmnentation, or data. Data security devices may consist of hardware,

             software, or other programming code. A password (a string of alpha-numeric

             characters) usually·operates what i:night be termed a digital key to "unlock"

             particular data security devices. Data security hardware may include

             encryption devices, chips, and circuit boards. D~ta security software of digital

             code may include programming code that creates "test" keys or "hot" keys,

             which perform certain pre-set security functions when touched. Data security

             software or code may also encrypt, compress, hide, or "booby-trap" protected
                                                     I                                    .




             data to make it inaccessible or unusable, as well as reverse the progress to

             restore it.

                 f.         "Computer-related docmnentation" consists of written, recorded,

             printed, or electronically stored material that explains or illustrates how to

             configure or use computer hardware, computer software, or other related

             items.




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                 g.       "Computer software" is digital information that can be interpreted

              by a computer and any of its related components to direct the way it works.

              Computer software is stored in electronic, magnetic, or other digital form. It

             commonl)' includes programs to run operating systems, applications, and

             utilities.

                 h.       "Internet Protocol address" or "IP address" refers to a ':1nique

             numbei- used by a computer to access the Internet. IP addresses can be

             dynamic, meaning th~t the Internet Service Provider (ISP) assigns a different

             unique number to a computer every time it accesses the Internet. IP addresses

             might also be static, if an ISP assigns a.user's computer a particular IP address

             that is used each time the computer accesses the Internet.

                 i.       "Minor" means any person under the age of 18 years. See 18

             U.S.C. § 2256(1).

                 j.       "Peer-to-peer file-sharing" ("P2P") is a method of communication

             available to Internet users through the use of special software. Computers

             linked together through the Internet using this software form a network that

             allows for the sharing of digital files between users on the network. A user

             first obtains the P2P software, which can be downloaded from the Internet. In

             general, P2P software allows the user to set up files on a computer to be

             shared with others running compatible P2P software. A user obtains files by

             opening the P2P software on the user's computer, and conducting searches for

             files that are currently being shared on another user's computer.




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                  k.     "Sexually explicit conduct" applies to visual depictions that

              involve the use of a minor, see 18 U.S.C. § 2256(8)(A), or that have been

              created, adapted, or modified to ~ppear to depict ar:i identifiable minor, see 18

              U.S.C. § 2256(8)(C). In those contexts, the term refers to actual or simulated

              (a) sexual intercourse (including genital-genital, oral-genital, or oral-anal),

              whether between persons of the same or opposite sex; (b) bestiality; (c)

              masturbation; ( d) sadistic or masochistic abuse; or (e) lascivious exhibition of

              the genitals or pubic areas of any person. See 18 U .S.C. § 2256(2)(A).

                 1.       "Visual depictions" include undeveloped film and videotape, and

              data stored on computer disk or by electronic means, which is capable of

              conversion into.a visual image. See 18 U.S.C. § 2256(5). ·

                 m.      The terms "records," "documents," and "materials" include all

              information recorded in any form, visual or aural, and by any means, whether

              in handffiade form (inclu~ing, but not limited to, writings, drawings, painting),

             photographic form (including, but not limited to, microfilm, microfiche,

             pri.D.ts, slides, negatives, videotapes, motion pictures, photocopies);

             mechanical form (including, but not limited to, phonograph records, printing,

             typing); or electrical, electronic or magnetic form (including, but not limited

             to, tape recordings, cassettes, compact discs, electronic or magnetic storage

             devices such as floppy diskettes, hard disks, CD-RQMs, digital video disks

             ("DVDs"), Personal Digital Assistants ("PDAs"), Multi Media Cards

             ("MMCs"), memory sticks, optical disks, printer buffers, smart cards, memory

             calculators, electronic dialers, Bernoulli drives, or electronic noteJmoks, as




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                   well as digital data files and printouts or readouts from any magnetic,

                   electrical or electronic storage device).

               BACKGROUND ON COMPUTERS AND CHILD PORNOGRAPHY

        8.     Based on my knowledge, training, and experience ip child exploitation and child

pornography investigations, and the experience and training of other law enforcement officers

with whom I have had discussions, computers, computer technology, and the Internet have

revolutionized the manner in which child pornography is produced, distributed and stored.

       9.      Computers and cellphones basically serve five functions in connection with child

pornography: production, communication, distribution, storage, and social networking. The

term computer is this affidavit should be read to include cellphones.

        10.    With digital cameras, images of child pornography can be transferred directly

onto a computer. A modem allows any computer to connect to another computer through the use

of telephone, cable, or wireless connection. Through the hlternet, electronic contact can be made

to literally millions_of computers and. cellphones around the world. 1ndeed, modem day

cellphones have many of the same capabilities as co.r:nputers. Many cellphones now have digital

cameras as well.

       11.     The computer and cellphones ability to store images in digital form make them

ideal repositones for child pornography. The size of the electronic storage media: (commonly

referred to as the hard drive) used in home computers and cellphones has grown tremendously

within the last several years. These drives can store thousands of images at very high resolution.

       12.     The Internet affords individuals several different venues for meeting each other,

obtaining, viewing and trading child pornography in a relatively secure and anonymous fashion.




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           13.       Individuals also use online resources to retrieve and store child pornography,

including servic~s offered by Internet Portals such as Apple, Google, Yahoo! and Hotmail,

among others. The online services allow a user to set up an account with a remote computing

service that provides e-mail services as well as electronic storage of computer files in any variety

of formats. A user can set up an online storage account from any c.o mputer with access to the

Internet. Evidence of such online storage of child pornography is often found on the user's

computer. Even· in cases where online storage is used,, however, evidence of child pornography

can be found on the user's computer in most cases.
       I
           14.   As with most digital technology, communications made from a computer are

often saved or stored on that computer. Storing this information can be intentional, for example,

by saving an e-mail as· a file on the computer or saving the location of one's favorite websites in

"boolanarked" files. Digital information can also be retained unintentionally. Traces of the path

of an electronic communication may be automatically stored in many places, such as temporary

files or ISP client software, among others. In addition to electronic communications, a computer

user's Internet activities generally leave traces in a computer's web cache and Internet history
   .                                              .
files. A forensic examiner often can recover evidence that ~hows whether a computer contains

peer-to-peer and instant messaging software, when the computer was sharing files, and some of

the files that were uploaded or downloaded. Computer files or remnants of such files can be

recovered n:ionths or even years after they have been downloaded onto a hard drive, deleted, or

viewed via the Internet. Electronic files downloaded to a hard drive can be stored for years at

little or no cost. Even wh~n such files have been deleted, they can be recovered months or years
                 .                                                                  .
later using readily available forensic tools. When a person "deletes" a file on a home computer,

the data contained in the ·file does not actually disappear; rather, that data remains on the hard




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drive until it i~ overwritten by new data. Therefore, deleted files, or remnants of deleted files,

may reside.in free space or slack space -- that is, in space on, the hard drive tl~at is not allocated to

an active file or that is unused after a file has been allocated to a set block of storage space -.- for

long periods of time before they are overwritten. · In addition, a computer's operating system

may also keep a record of deleted data in a "swap" or "recovery" file. Similarly, files that have

been viewed via the Internet are automatically d~wnloaded into a temporary Internet directory or

"cache. " The browser typically maintains a fixed amount of hard drive space devoted to these

files, and the files are·only overwritten as they are replaced with more recently viewed Internet

pages. Thus, the ability to retrieve residue of an electronic file from a hard drive depends less on
                                                                                           I

when the file was downloaded or viewed than on a particular user's operating system, storage

capacity, and computer habits. ·

                 SPECIFICS OF SEARCH AND SEIZURE OF COMPUTER SYSTEMS

        15.       s.earches a,nd seizures of evidence from computers commonly require agents to

download or copy information from the computers and their components, or seize most or all

computer items (computer hardware, computer software, and computer related documentation) to

be processed later by a qualified computer expe1t in a laboratory or other controlled

environment. This is almost always true because of the following two reasons:

                      a. Computer storage devices (like hard disks, diskettes, tapes, laser disks,

              magneto opticals, and others) can store the equivalent of thousands of pages of

              information. Especially when the user wants to conceal criminal.evidence, he or she

              often stores it in random order with deceptive file names. This requires searching

              authorities to examine all the stored data that is available in order to deterin.ine

              whether it is included in the warrant that authorizes the search. This sorting process




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                 . can take days or weeks, depending on the volume of data stored, and is generally

                     difficult to accomplish fully on-site.

                            b. Searching computer systems for criminal evide~ce is a highly technical

                     process requiring expert skill and a properly controlled environment, The vast array

                     of computer hardware and software available requires even computer experts to

                     specialize in some systems and applications; so.it is difficult to know before a search

                     which expert should analyze the system and its data. The se;lrch of a computer

                     system is an exacting scientific procedure that is designed to protect the integrity of

                     the evidence and to recover even hidden, erased, compressed, password-protected, or.

                     encrypted files. Since computer evidence is extremely.vulnerable to tampering or
''                   destruction (which may be caused by malicious code or normal activities of an

                     operating system), the controlled environment of a laboratory is essential to its

                     complete and accurate analysis.

               16.      In order to fully retrieve data from a computer system, the analyst needs all

     magnetic storage devices as well as the central processing unit ("CPU"). In cases involving child

     pornography where the evidence.consists partly of graphics files, the monitor(s) may be essential

     for a thorough and efficient search due to software and hardw.are configuration issues. In

     addition, the·analyst needs all the system software (operating systems or interfaces, and hardware

     drivers) and any applications software which may have been used to create the data (whether

     stored on hard drives or on external media).

               17.      Furthermore, because there is probable cause to believe that the computer and its

     stor~ge   devices a:re all instrumentalities of crimes, within the meaning of 18 U.S.C. §§ 2251

     through 2256, they should all be seized as such.




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                                 BACKGROUND OF THE INVESTIGATION

           18.    Your Affiarit states that on November 20, 2017, the Hamilton Township Police

 Department (HTPD) received a witness report stating JAKE MICHAEL DAMRON had taken

 pornographic pictures of a five year old minor victim (hereinafter referred to as "MINOR

 VICTIM"). MINOR VICTIM is the daughter of DAMRON'S girlfriend, (hereinafter referred to

 as "GIRLFRIEND") with whom he resides. The witness reported DAMRON was trading the

 images of MINOR VICTIM for other child pornography via the cell phone application "KJK." 1

           23.    On November 21, 2017 a Detective with HTPD and a Warren County Children's

 Service Case Worker responded to DAMRON'S address, 10651 South State Route 48, Loveland,
                                                   I
 Ohio 45140 in an attempt to locate MINOR VICTIM and .GIRLFRIEND. The detective found

 the residence to be unoccupied and contacted GIRLFRIEND via telephone. Arrangements were

·made to meet with GIRLFRIEND at the Warren County Child Advocacy Center. On November

· 21, 2017 at approximately 1420 hoU.r.s, the detective interviewed GIRLFRIEND at the Advocacy

 center.

           24.   GIRLFRIEND advised on October 28, 2017, she became suspicious of

 DAMRON and searched his cell phone (Subject iPhone) while he was sleeping. GIRLFRIEND

 observed conversations in DAMRON'S cell phone between DAMRON and other individuals,

which included several pictures of young female children including MINOR VICTIM.

 GIRLFRIEND used her personal cell phone (Witness iPhone) to take pictures of the images and

conversations displayed on DAMRON'S cell phone and confronted DAMRON with the pictures.

 GIRLFRIEND advised she initially kicked DAMRON out of the house upon discovering the

images. and conversations, but allowed DAMRON to move back into the house approximately


1•Kile is an internet based messaging and communication application which is usable on cellphones and other
internet capable devices.


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one week later, after DAMRON agreed to attend therapy. Sergeant Short subsequently requested

that GIRLFRIEND respond to the Hamilton Township Police Department headquarters·for

further interviewing.

       25.        GIRLFRIEND immediately responded to HTPD where she voluntarily turned

her cell phone over and provided her passcode. GIRLFRIEND also signed a property release

form and a consent to search form. GJRLFRIEND then completed a three page voluntary written

statement. In the statement, GIRLFRIEND advised she felt suspicious of DAMRON and

searched his cell ~hone. During the search she found sex applications and chatrooms including

the application "KI!(." In "KlK," GIRLFRIEND found many conversations between DAMRON

and other "KlK" users exchanging videos and images. The images in the conversations included

pictures of GIRLFRIEND and MINOR VICTIM. Additionally, DAMRON had sent and received

sexually explicit pictures of other children. GIRLFRIEND confronted DAl\1RON with the

images and DAMRON apologized to GIRLFRIEND and told her that he knew what he had done

was wrong. GIRLFRIEND then kicked DAMRON out of the house but continued to feed him

and allow him to enter with permission. GIRLFRIEND advised she confided in friends and

asked them for advice and also told MINOR VICTIM'S psychofogist about the incident.

       26.       On November 21, 2017, at approximately 1640 hours, Sergeant Short conducted

a non-custodial interview of DAMRON at the HTPD ..On November 28, 2017, Your Affiant

reviewed a video recording of the interview. The interview lasted approximately twenty-eight

minutes and DAMRON provided the following information:

       •     DAMRON stated that he had "nude pictures of kids" on his phone and responded in

             the affirmative when asked by Sergeant Short if he had been sending and receiving

             them.




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          •     DAMRON also advised he had taken inappropriate pictures of MINO~ VICTIM.

          •     DAMRON had deleted all of the pictures off of his phone but possessed the cell

                phone.

          • · DAMRON identified his "KJK" usemame as "HITEMYOUNGIN" associated with

                the email address "cincityracer@yahoo.com".

          •     DAMRON deleted the account from his phone after b.eing confronted by

                GIRLFRIEND but confirmed his account was still aCtive.

          •     When asked by Sergeant Short if DAMRON had been trading child pornography on

                "K.IK", DAMRON responded in the affirmative.

          27.      DAMRON consented to turning his iPhone 6s2 cell phone over to Sergeant Short

 and agreed to provide his cell phone passcode.            S~rgeant   Short advised DAMRON he would be .

 analyzing the cell phone and would present the results to a Grand Jury. DAMRON again agreed

 to tum the phone over to Sergeant Short, he then signed a property release form and signed a

 consent to ·search form. DAMRON explained MINOR VICTIM was the only minor he had taken

 photographs of and stated he had "probably" taken them due to easy access. DAMRON also

· stated he is registered as a sex offender with the State of Ohio

          28.      On November 27, 2017 Your Affiant received the HTPD case file, interview

 notes, and DAMRON'S cell phone as well.as GIRLFRIEND'S cell phone. Upon receiving

 GIRLFRJEND'S cell phone, a pink iPhone 6s, Your Affiant reviewed GIRLFRIEND'S signed

 and dated consent to search form. Upon verification of GIRLFRIEND'S consent to search, at

 approximately 1610 hours, Your Affiant turned GIRLFRIEND'S cell phone on, placed the

 device into airplane mode and reviewed GIRLFRIEND'S camera roll. Your Affiant identified



 2• From experience,   I know iPhone cellphones are typically ma~ufactured outside the United States.


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multiple photographs taken on October 28, 2017, of a cell phone matching the description of

DA1v,1RON' S with conversations and images depicting what appeared to be shared photographs

including the following:

                 •    A prepubescent female straddling what appeared to be an erect male penis

                 •    What appeared to be a prepubescent female naked spreading her legs.

                 •    Photographs of what appeared to be an adult male.hand pulling back underwear

                     to expose the genitalia of what appeared to. be an unidentifiable prepubescent

                     female.

          29.         At approximately 1635 hours, Your Affiant concluded the review of the cell

phone and powered the device off.

          30.         Public database records checks and Ohio Bureau of Motor Vehicles identified

that DAMRON, date·of birth XX-XX-1992, Social Security Account Number ;x:xx-XX-3187,

resides at 10651 South State Route 48, Loveland, Ohio 45140.

          31 .       During his interview with Sergeant Short, DAMRON provided 10651 ·South State

Route 48, Loveland, Ohio 45140, as his residential address.

       CHARACTERISTICS COMMON TO INDIVIDUALS INVOLVED IN THE
       DISTRIBUTION, TRANSPORTATION, RECEIPT, OR POSSESSION AND
         ATTEMPTED DISTRIBUTION, TRANSPORTATION, RECEIPT. OR
                  POSSESSION OF CIDLD PORNOGRAPHY

          32.        As set forth above,. probable cause exists to believe that DAMRON has produced,

distributed, ·and possessed child pornography. Based upon my knowledge, experience, and

training, and the training. and experience of other law enforcement officers with whom I have had

discussions, I know that there are certain characteristics common to individuals involved in such

crimes:




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              a.      Those who distribute, transport, i:eceive, or possess child pornography, or

      who attempt to commit these crimes may receive sexual gratification, stimulation, and

      satisfaction from contact with children; or from fantasies _they may have viewing children

      engaged. in sexual activity or in sexually suggestive poses, such as in person, m

      photographs,   or other visual media; or'"from literature describing such activity.
             b.       Those who disttibute, transport, receive, or possess child pornography, or

      who attempt to commit these crimes may collect sexually explicit or suggestive materials,_

      in a yariety of media, including photographs, magazines, motion pictures, videotapes,

      books, slides and/or drawings or other visual media. Such individuals oftentimes use

      these materials for their _o wn sexual arousal and gratification. Further, they may use these

      mate1ials to lower the inhibitions of children they are attempting to seduce, to arouse the

      selected child partner, or to demonstrate the desired sexual acts.

             c.       Those who distribute, transport, receive, or possess child pornography, or

      who attempt to commit these crimes often possess and maintain ·copies of child-

      pomography material, that is, their pictures, films, video tapes, magazines, negatives,

      photographs, correspondence; mailing lists, books, tape recordings, etc., in the privacy

      and security of their home or some other secure location. These individuals typically

     retain pictures, films, photographs, negatives, magazines, correspondence, books, tape

     recordings, mailing lists, child erotica, and videotapes for many years.

             d.       Likewise, . those · who distribute, transport, receive, or possess child

     pornography, or who attempt to commit these crimes often maintain their collections that

     are in a digital or electronic format in a safe, secure and private environment, such as a

     computer and surrounding area. These collections are often maintained for several years




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          and are kept close by, usually at the individual's residence, to enable the collector to view

         the collection, which is valued highly.

                  e.      Those who distribute, transport; receive, or possess child pornography,.or

         who attempt to commit these crimes also may correspond with and/or meet others to

         share information and materials; rarely destroy correspondence from other child
                                                                                       I
         pornography distributors/collectors; conceal such correspondence as they do their

         sexually explicit material; and often maintain lists of names, addresses, and telephone

         numbers of individuals with whom they have been in contact and who share the same

         interests in child pornography.

                  f.      Those who distribute, transport, receive, or possess child pornography, or

         who attempt to commit these crimes prefer not to be without their child pornography for

         any prolonged time period. This behavior has been documented by law enforcement

         officers involved in the investigation of child pornography throughout the world.

         33.     DAMRON, residing.at 10651 South State Route 48, Loveland, Ohio 45140,

 exhibits the common characteristics described above in ii 27 of someone involved in the

· distribution, transportation, receipt, and possession of child pornography, or the attempt to
                                                                    .                             '
 distribute, transport, receive, or possess child pornography, is evidenced by the facts that are set

 forth in this affidavit,. including:

                 a.       The fact that sexually explicit images of MINOR VICTIM were produced

                          to document the abuse and preserve the abuse for later review and sexual

                          gratification;




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               b.      The sexually explicit images of MINOR VICTIM were produced using a

                       mobile device, allowing for the contents to be kept in digital format, and

                       easily transported, distributed, and stored.

               c.      DAMRON's own statements of producing, distributing, receiving; and

                       possessing child pornography.

                                         CONCLUSION

       -34.    Based on the aforementioned factual information, Your Affiant respectfully

submits that there is probable cause to believe that evidence of the above described sexual abuse,

in violation of 18 U.S.C. §§ 2251, 2252 and 2252A, will be located at the residence associated

with DAMRON, as well as both the Subject iPhone and Witness iPhone. Additionally, the

evidence listed_to be seized, listed in Attachment B to this affidavit, which is incorporated herein

by reference, is contraband, the fruits of crime, or things otherwise criminally possessed, or

property which is or has been used as the means of committing the foregoing offenses.

       35.     Your Affiant, therefore, respectfully requests that the attached warrants be issued

authorizing the search and seizure of the items listed in Attachment B.




       Sworn and subscribed before nie this   d cJ day of November, 2017.




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                                   ATTACHMENT A-2

          DESCRIPTION OF THE SUBJECTIPHONE TO BE SEARCHED

         An Apple iPhone 6S, silver in color, Model Ai688, FCC ID: BCG-E2946A IC: 579C-

E2946A. The iPhone was turned over to HTPD by DAMRON with consent to search and is

being stored at the FBI Cincinnati Field Office, 2012 Ronald Reagan Drive, Cincinnati, Ohio

45236.




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                                       ATTACHMENTB

     PROPERTY AND PARTICULAR ITEMS TO BE SEARCHED AND SEIZED


        Agents are authorized to photograph or video the interior and exterior of the

building. Additionally, all items contained in the premises described in Attachment A-1 , A-2,

and A-3 that relate to violations of _18 U.S.C. §§ 2251, 2252 and 2252A, relating to the

production, distribution, transportation, receipt, and possession of child pornography:

1.     Child pornography or child erotica in _any format or medium;

2.     Girl's clothing, including underwear and similar clothing items;

3.     Sexual toys and items used for sexual arousal or sexuat"acts;

4.     Any computer or storage
                         .
                               medium, including but not limited to, computers,
                                                                         '
                                                                                computer

servers, cellular telephones, personal data assistants, tablets, electronic storage devices, thumb

drives, flash drives or cards, and smart cellular telephones;

5.     Any images of Minor Victini; ·

6.     Any information, communications, images, videos, messages, or qata associated with Kik

messenger;

7.     Records and information relating to the identity or location of the suspects, or others who

may have communicated with for the purpose of exchanging and/or trading images of minors;

8.     Computers or storage media used as a means to commit the violations of 18 U.S.C. §§

2251, 2252 and 2252A;

9.             For any computer or storage medium whose seizure is otherwise authorized by

this warrant, and any computer or storage medium that contains or in which is stored records or

information that is otherwise called for by this warrant (hereinafter, "COMPUTER"):




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      a.     evidence of who used, owned, or controlled the COMPUTER at the time the

             things described in this warrant were created, edited, or deleted, such as logs,

             registry entries, configuration files, saved usemames and passwords, documents,

             browsing history, user profiles, email, email contacts, "chat," instant messaging

             logs, photographs, and correspondence;

      b.     evidence of software that would allow others to control the COMPUTER, such as

             viruses, Trojan horses, and other forms of malicious software, as well as evidence

             of the presence or absence of security software designed to detect malicious

            ·software;

     · c.    evidence of the lack of such malicious software;

      d.     evidence of the ·attachment to the COMPUTER of other storage devices or similar

            . containers for electronic evidence;

      e.    evidence of counter-forensic programs (and associated data) that are designed to .

            eliminate data from the COMPUTER;

      f.    evidence of the times the COMPUTER was used;

      g.    passwords, encryption keys, and other access devices that may be necessary to

            access the COMPUTER;

     h.     documentation and manuals that may be necessary to access the COMPUTER or

            to conduct a forensic examination of the COMPUTER;

     i.     records of or information ~bout Internet Protocol addresses used by the

            COMPUTER;

     j.     records of or information about the COMPUTER's Internet activity, including

            firewall logs, caches, browser history and cookies, "bookmarked" or "favorite"




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                 web pages, search terms that the user entered into any Internet search engine, and

                 records of user-typed web addresses;

         k.      contextual information necessa1y to understand the evidence described in this

                 attachment.

  10.            Routers, modems, and network equipment used to connect computers to the

         Internet. -

  11.            All visual depictions in any form, including still images, videos, films or other

         recordings of child pornography or minors engaged in sexually explicit conduct and any

        mechanism used for the receipt, storage, or production of the same.

  12.            Any and all computer passwords and other data security devices designed to

        restrict access to or hide computer software, data, or documentation. Data security

        . devices may consist of hardware, software, or other programming code.

. 13.            Any and all" documents, records, e-mail, and internet history (in electronic form)

        pertaining to the sexual exploitation of children whether transmitted or received.

 14.             Any and all electronic records, documents, invoic.es, notes, and materials that

        pertain to accounts ~ith any Internet Service Provider, as well as any and all"records

        relating to the ownership or use of computer equipment found at that property.

 15.             Electronic or paper documents and records regarding the lease and/or possession

        or ownership of the property described in Attachment A-1, A-2, or A-3 or of any

        computer or electronic storage device found at that property.

 16.             Evidence of.user attribution showing who used or owned any of the items seized

        under this warrant, including evidence of when those items were created, edited, or




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      deleted, such as logs, phonebooks, saved usernames and passwords, documents, and

      browsing history.

17.          Records evidencing the use ofthe Internet, to include Internet Protocol addresses·

      including:

      a.     records of Internet Protocol addresses used;

      b.     records of Internet activity, including firewall logs, caches, browser histo1y and

             cookies, "bookrnarked11 or "favorite" web pages, search te1ms that the user entered

             into any Internet search engine, and records of user-typed web addresses.

18.          As used above, the terms "records" and "information" includes all forms of

      creation or storage, including any form of computer or electronic storage (such as hard

      disks or other media that can store data); any handmade form (such as writing); any

      mechanical_form (such as printing or typing); and any photographic form (such as

      microfilm, microfiche, prints, slides, negatives, videotapes, motion pictures, or

      photocopies).

19.          The te1m "computer" includes·all types of electronic, magnetic, optical,

      electrochemical, or other high speed data processing devices performing logical,

      arithmetic, or storage functions, including desktop computers, notebook computers,

      mobile phones, tablets, server computers, and network hardware.

20.          The term "storage medium" includes any physical object upon which computer

      data can be recorded. Examples include hard disks, RAM, floppy disks, flash meinory,

      CD-ROMs, and other magnetic or optical media.

21.          Any images or videos that depict Minor Victim.

22.          Any communications with or about Minor Victim.




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23.          Any text, email,. or other communi~ation concerning the sexual exploitation of

      children.

24.          Any hotel records and receipts, travel records and receipts, vehicle records,

      financial records, and telephone bills.

25.          Any record, receipt, or advertisement pertaining to sexual exploitation of minors.




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